Case 1-19-01112-jmm   Doc 1   Filed 08/14/19   Entered 08/14/19 15:47:19
Case 1-19-01112-jmm   Doc 1   Filed 08/14/19   Entered 08/14/19 15:47:19
           Case 1-19-01112-jmm              Doc 1      Filed 08/14/19   Entered 08/14/19 15:47:19
B250B
(1/88)

                               UNITED STATES BANKRUPTCY COURT
                                          EASTERN DISTRICT OF NEW YORK
In re; Colette Wallace as Debtor in Possession
                                                            Case No.19-43541-cec
---------------------------------------------------------X
COLETTE WALLACE as Debtor in
Possession,
                                    Plaintiff,
         -against-                                          Adv. Pro. No. 19-____________-cec

DORIS OXENDINE,
WILHEMINA SMITH,
WILHEMINA SMITH d/b/a Mels Marketing & Consulting
WILHEMINA SMITH d/b/a WC & SS Realty
ERNEST WILSON

                                    Defendants.
---------------------------------------------------------X

                          SUMMONS AND NOTICE OF PRETRIAL CONFERENCE
                                IN AN ADVERSARY PROCEEDING

YOU ARE SUMMONED and required to submit a motion or answer to the complaint which is attached to this
summons to the clerk of the bankruptcy court within 30 days after the date of issuance of this summons, except
that the United States and its offices and agencies shall submit a motion or answer to the complaint within 35
days.
               Address of Bankruptcy Clerk
               271 Cadman Plaza
               Brooklyn New York 11201
At the same time, you must also serve a copy of the motion or answer upon the plaintiff’s attorney:
                   Clover Barrett & Associates, P.C.
                   338 Atlantic Avenue, Suite 201
                   Brooklyn, New York 11201
If you make a motion, your time to answer is governed by Bankruptcy Rule 7012.

YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the complaint
will be held at the following time and place.
            Chief Judge Carla E. Craig       Room 3529
            U.S. Bankruptcy Court, EDNY
            Conrad B. Duberstein Courthouse  Date and Time
            271-C Cadman Plaza East
            Brooklyn, NY 11201-1800
IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE
YOUR CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND
JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN
THE COMPLAINT.
                                            Clerk of the Bankruptcy Court

                                                             By:
                     Date
                                                                                Deputy Clerk
Case 1-19-01112-jmm   Doc 1   Filed 08/14/19   Entered 08/14/19 15:47:19
Case 1-19-01112-jmm   Doc 1   Filed 08/14/19   Entered 08/14/19 15:47:19
Case 1-19-01112-jmm   Doc 1   Filed 08/14/19   Entered 08/14/19 15:47:19
Case 1-19-01112-jmm   Doc 1   Filed 08/14/19   Entered 08/14/19 15:47:19
Case 1-19-01112-jmm   Doc 1   Filed 08/14/19   Entered 08/14/19 15:47:19
Case 1-19-01112-jmm   Doc 1   Filed 08/14/19   Entered 08/14/19 15:47:19
Case 1-19-01112-jmm   Doc 1   Filed 08/14/19   Entered 08/14/19 15:47:19
Case 1-19-01112-jmm   Doc 1   Filed 08/14/19   Entered 08/14/19 15:47:19
